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1    HOTELS, CAN YOU, I GUESS, TELL US HOW MANY DIFFERENT HOTELS THAT

 2   YOU LIVED WITH YOUR SISTER, SANTRESIA?

 3        A.     I HAVE TO SAY OVER 10.

4         Q.    AND AT THE TIME THAT YOU ARE LIVING WITH SANTRESIA,

 5   YOU ARE LIVING IN HOTELS, OVER 10, ARE YOU IN SCHOOL AT THE

6    TIME?

7         A.     NO.

 8        Q.    OKAY.    WHAT ARE YOU GUYS DOING FOR MONEY?

 9        A.    AT FIRST, SHE WAS HAVING SEX BY HERSELF FOR MONEY.

10   AND THEN IN MAY, EARLY, WELL LATE MAY, EARLY JUNE THAT'S WHEN I

11   WAS PUT INTO THE SEX GAME.

12        Q.     WHEN YOU SAY EARLY MAY, JUNE, WHAT YEAR ARE WE TALKING

13   ABOUT?

14        A.     2016.

15        Q.    OKAY.    HOW OLD WOULD YOU HAVE BEEN?

16        A.     15.

17        Q.    OKAY.    YOU HAD BEEN 15 AT THE TIME.        AND YOU WERE BORN

18   IN 2000.

19        A.     1999.

20        Q.    SO WOULD IT HAVE BEEN MAYBE -- DOING THE MATH RIGHT,

21   MAYBE 2015?

22        A.     YEAH.

23        Q.    OKAY.    SO YOU SAID THAT YOU WERE INTRODUCED INTO THE

24   LIFE.    WHAT DOES THAT MEAN?

25        A.     WHEN I SAY I WAS INTRODUCED INTO THE LIFE, IT MEANS
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1          A.   YES, MA'AM.

 2         Q.   OKAY.                , DID YOU WANT TO PROSTITUTE?

 3         A.   NO.

4          Q.   DID YOU EVER TELL YOUR SISTER YOU DIDN'T WANT TO

 5   PROSTITUTE?

6          A.   YES.

7          Q.   HOW COME YOU DIDN'T JUST STOP?

 8         A.   BECAUSE IT WAS LIKE I TOLD HER I WANTED TO STOP AT

 9   CERTAIN TIMES, BUT I GET LIKE BEAT UP, I GET HIT, I GET PUNCHED,

10   I GET SLAPPED.     LIKE IT WAS -- HONESTLY, IT FELT LIKE I REALLY

11   HAD A PIMP.   LIKE YOU ARE NOT MY SISTER, YOU ARE A PIMP TO ME.

12         Q.   ON AN AVERAGE, HOW MANY PLAYS OR DATES WOULD YOU HAVE

13   IN ANY GIVEN DAY?

14         A.   I STOPPED COUNTING.

15         Q.   TELL ME THE MOST THAT YOU CAN REMEMBER IN A GIVEN DAY?

16         A.   20.

17         Q.   AND COULD IT, IN FACT, BE 20 TIMES THAT YOU WOULD

18   ACTUALLY HAVE SEXUAL INTERCOURSE WITH A PERSON?              IS THAT YES OR

19   NO?

20         A.   YES.

21         Q.   DID YOU EVER BEGIN TO HAVE REGULAR CUSTOMERS?

22         A.   YES.

23         Q.   DO YOU KNOW WHAT AGE WAS POSTED ON BACK PAGE?

24         A.   I KNOW 18.      I DON'T KNOW THE OTHER ONE.

25         Q.   BUT, IN FACT, IN SEPTEMBER OF 2015, YOU WERE ACTUALLY
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1               THE COURT:      ALL RIGHT.   ADMITTED.

 2   BY MS. EKPO:

 3         Q.   WHERE WOULD YOU AND YOUR SISTERS, AS WELL AS YOUR

4    CHILDREN, AS WELL AS A NIECE OR NEPHEW, WHAT ROOM WOULD YOU ALL

 5   STAY IN?

6          A.   WE WAS IN ROOM 215.

7          Q.   OKAY.    AND WHAT ROOM WOULD YOU HAVE DATES OR PLAYS OUT

 8   OF?

 9         A.   217.

10         Q.   WHO'S IDEA WAS THAT?

11         A.   MINE.

12         Q.   WHY WAS THAT YOUR IDEA?

13         A.   BECAUSE WE KEPT THE KIDS AWAY FROM WHERE WE HAD TO BE

14   AT TO MAKE SURE OUR BUSINESS WAS HANDLED, TO KEEP A ROOF OVER

15   THEIR HEAD.

16         Q.   WHAT HAPPENED -- WHAT WOULD HAPPEN IF YOU HAD A DATE

17   AND                HAD A DATE AT THE SAME TIME?

18         A.   SOMEBODY WOULD LOSE OUT ON THEIR PLAY.

19         Q.   AND WHO WOULD NORMALLY LOSE OUT ON THEIR PLAY?

20         A.   WHOEVER DATES NOT THERE FIRST.

21         Q.   HOW WOULD THE THREE OF YOU COORDINATE WHEN YOUR DATES

22   OR PLAYS WOULD SHOW UP TO EITHER 217?        HOW WOULD YOU COORDINATE?

23         A.   WHAT YOU MEAN

24         Q.   WHO WOULD WATCH -- WOULD ANYBODY WATCH EACH OTHER'S

25   BACK?
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1         A.    20.

 2        Q.    20 YEARS OLD.

 3        A.    YES, OVER 20.

4         Q.    AND SO DOES THAT MEAN YOU ALL WOULD NOT HAVE RENTED

 5   OUT A ROOM TO A 15-YEAR-OLD, PER SE?

6         A.    YES, MA'AM.

7         Q.    WHENEVER INDIVIDUALS COME TO CHECK OUT A ROOM, DO THEY

 8   HAVE TO LEAVE A COPY OF THEIR DRIVER'S LICENSE AS WELL?

 9        A.    YES, WE DID.

10        Q.    I'M GOING TO SHOW YOU, AGAIN, STATE'S EXHIBIT 9.

11              MS. BRYANT:      YOUR HONOR, IF I COULD PUBLISH.

12              THE COURT:      ANY OBJECTION TO IT BEING PUBLISHED?

13              MR. SELLARS:      NO OBJECTION.

14              THE COURT:      OKAY.

15   BY MS. BRYANT:

16        Q.    MR. PATEL, IF YOU COULD LOOK TO THAT SCREEN ON YOUR

17   RIGHT.

18        THE COURT:    I DON'T THINK IT'S ON.

19        MS. BRYANT:    IT'S ON, YOUR HONOR.        SO I WILL FOCUS IN TO

20   MAKE SURE YOU CAN SEE IT CLEARLY.

21   BY MS. BRYANT:

22        Q.    AND IF WE ARE LOOKING AT STATE'S EXHIBIT 9, CAN YOU

23   SEE THE NAME OF THE PERSON WHO WOULD HAVE RENTED OUT THAT ROOM

24   OR DO YOU NEED ME TO ZOOM IN MORE?

25        A.    YES.
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1           Q.   CAN YOU SEE IT?

 2          A.   YES.

 3          Q.   AND WHO IS THE PERSON WHO RENTED OUT THAT ROOM FOR

4    217?

 5          A.   MS. WOOD.

6           Q.   MS. WOODS.     AND IS THAT SANTRESIA WOODS?

7           A.   YES, SANTRESIA.

 8          Q.   AND ARE YOU ABLE TO TELL HOW LONG THE STAY WOULD HAVE

 9   INCLUDED WITH THEIR ARRIVAL AND DEPARTURE TIME?

10          A.   IT'S CHECKED IN -- ANY TIME WE CHECK IN BUT, SHE

11   CHECKED OUT AT 11:00 O'CLOCK.

12          Q.   OKAY.   AND WOULD THE CHECK IN DATE, DO YOU SEE THE

13   CHECK IN DATE?

14          A.   YEAH, IT'S 9/2/15, WEDNESDAY.

15          Q.   AND WOULD THAT BE SEPTEMBER 2ND, 2015?

16          A.   YES.

17          Q.   AND THE DEPARTURE DATE, WHAT DATE IS THAT?

18          A.   IT'S 9/10/2015.

19          Q.   AND WOULD THAT BE SEPTEMBER 10TH, 2015?

20          A.   YES, MA'AM.

21          Q.   NOW THE PORTION THAT WE SEE TOWARDS THE BOTTOM HERE,

22   IS THIS JUST A BREAKDOWN OF HOW MUCH EVERYTHING WOULD COST FOR

23   EACH DAY?

24          A.   YES.

25          Q.   SO I'M GOING TO FLIP TO THE BACK BECAUSE I WANT YOU TO
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1    TELL US HOW MUCH WAS PAID FOR THIS PARTICULAR ROOM.             ARE YOU

 2   ABLE TO SEE IN THE SUMMARY HOW MUCH WAS PAID FOR THE ROOM?

 3         A.   YEAH IT SAYS 352.18 PLUS TAX.

4          Q.   AND ARE YOU ABLE TO SEE HOW THAT ROOM WAS PAID?

 5         A.   YEAH, THEY WOULD PAY WITH CASH.

6          Q.   AND YOU ALREADY TALKED TO US ABOUT TAKING A COPY OF

7    ID.

 8         A.   YES.

 9         Q.   IS THAT WHAT HAPPENED IN THIS CASE AS WELL?            AS FAR AS

10   SOMEONE TAKING A COPY OF A PHOTO ID.

11         A.   WE TAKE ALL THE CUSTOMERS COPY, ID COPY.

12         Q.   AND ARE YOU ABLE TO SEE THE NAME ON THAT ID?

13         A.   YES, MA'AM.

14         Q.   AND WHAT DOES IT READ?

15         A.   SANTRESIA.

16         Q.   YOU CAN SPELL IT FOR US IF YOU CAN'T PRONOUNCE IT,

17   THEN THAT'S FINE.     DO YOU NEED ME TO ZOOM IN MORE?         IS THAT

18   BETTER?

19         A.   IT SAYS SANTRESIA.

20         Q.   OKAY.    I WILL BRING IT TO YOU TO MAKE IT BETTER.              THAT

21   WAY, YOU SO YOU DON'T HAVE TO STRAIN.        SHOWING YOU WHAT'S BEEN

22   MARKED AS STATE'S EXHIBIT 9.       WHAT DOES THIS EXHIBIT NAME SAY?

23         A.   IT SAYS S-A-N-T-R-E-S-I-A THEN ANOTHER NAME IS

24   R-A-S-H-A-N-D-A THEN WOOD W-O-O-D-S.

25         Q.   ALL RIGHT.      AND IS IT FAIR TO SAY THAT IS SANTRESIA
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1    RASHANDA WOODS?

 2        A.    YES, MA'AM.

 3        Q.    DO YOU ALL EVER HAVE A PRACTICE OF HAVING SOMEONE WALK

4    AROUND TO EVERY ROOM TO SEE WHAT THE OCCUPANTS ARE DOING AT ALL?

 5        A.    NO, MA'AM.

6               MS. BRYANT:      THANK YOU, I HAVE NO FURTHER

7         QUESTIONS.

 8              THE COURT:      ALL RIGHT.   IS THERE

 9        CROSS-EXAMINATION?

10              MR. SELLARS:      NO QUESTIONS, YOUR HONOR.

11              THE COURT:      ALL RIGHT.     THANK YOU.    MAY HE BE

12        EXCUSED FROM HIS SUBPOENA?

13              MS. BRYANT:      YES, YOUR HONOR.

14              THE COURT:      THANK YOU, SIR.    YOU CAN COME DOWN.

15              THE WITNESS:      THANK YOU.

16              THE COURT:      THE STATE READY TO CALL YOUR NEXT

17        WITNESS?

18        MS. EKPO:    YES, YOUR HONOR, THANK YOU.          THE STATE CALLS

19   SERGEANT MCCOWAN TO THE STAND.

20                         SERGEANT EMMANUEL MCCOWAN

21        WAS CALLED AS A WITNESS AND HAVING BEEN FIRST DULY SWORN,

22   WAS EXAMINED AND TESTIFIED AS FOLLOWS:

23                              DIRECT EXAMINATION:

24   BY MS. EKPO:

25        Q.    AND, SERGEANT MCCOWAN, HOW ARE YOU CURRENTLY EMPLOYED?
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1    AS MORE OF A QUALITY OF LIFE ISSUE FOR RESIDENTS OF PARTICULAR

 2   AREAS, WE ALSO LOOK FOR VICTIMS OF HUMAN TRAFFICKING.

 3              SO WE WILL LOOK FOR ALLEGED PROSTITUTES THAT ARE YOUNG

4    AND WE WILL LOOK FOR THOSE EITHER ON THE STREETS, BUT MAINLY ON

 5   THE INTERNET.     AND WE LOOK FOR THOSE AT THE TIME ON

6    BACKPAGE.COM.

7               SO IN REFERENCE TO THIS CASE, WHAT WE WERE DOING WAS,

 8   THAT DAY WE WERE LOOKING FOR YOUNG PROSTITUTES AND PEOPLE THAT

 9   WOULD HAVE FELL INTO THE CATEGORY OF HUMAN TRAFFICKING.              AND SO

10   WE WERE LOOKING FOR ADVERTISEMENTS OF YOUNG LOOKING INDIVIDUALS.

11   AND THAT'S WHEN WE CAME UPON THIS CASE.

12        Q.    DO YOU REMEMBER THE NAME THAT WAS ASSOCIATED ON THE AD

13   THAT YOU RESPONDED TO?

14        A.    YES.

15        Q.    WHAT NAME WAS THAT?

16

17        Q.    OKAY.    I'M SHOWING YOU STATE'S EXHIBIT 3(A).           IS THAT

18   BRANDY ON STATE'S EXHIBIT 3(A)?

19        A.    YES.

20        Q.    THAT'S THE FIRST PAGE OF STATE'S EXHIBIT 3(A).             THE

21   SECOND PAGE, IS THAT THE NAME OF

22        A.    YES.

23        Q.    ARE THESE THE ADS THAT YOU SAW IN ASSOCIATION WITH

24   THIS PARTICULAR CASE?

25        A.    YES.
